

People v Ayrhart (2017 NY Slip Op 04755)





People v Ayrhart


2017 NY Slip Op 04755


Decided on June 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 9, 2017

PRESENT: SMITH, J.P., CENTRA, LINDLEY, CURRAN, AND SCUDDER, JJ. (Filed June 9, 2017.) 


MOTION NO. (1576/90) KA 90-01576.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vHARRY AYRHART, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER Motion for writ of error coram nobis denied.








